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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


UNITED STATES OF AMERICA,                         )         CASE NO. 1:10CR387
                                                  )
                                                  )
                          PLAINTIFF,              )         JUDGE SARA LIOI
                                                  )
vs.                                               )
                                                  )         OPINION & ORDER
                                                  )
                                                  )
BRIDGET M. McCAFFERTY,                            )
                                                  )
                                                  )
                         DEFENDANT.               )


                 Before the Court is the motion in limine of Defendant Bridget McCafferty

(McCafferty or the defendant) to exclude evidence that the defendant violated the Code

of Judicial Conduct and the related testimony of the government’s expert, Lori Brown, on

the subject of the judicial canons. (Doc. No. 216.) The government has filed a response

indicating that it will not seek to elicit testimony from Ms. Brown that the defendant

violated the Ohio Code of Judicial Conduct. Instead, the government seeks to elicit

testimony from Ms. Brown regarding certain standards contained in the Ohio Code of

Judicial Conduct, as summarized in Attachment A to the government’s response (Doc.

No. 227). The motion has been fully briefed and is ripe for decision.1




1
  The Court previously announced its ruling on this issue on the record on the mornings of February 18 and
21, 2011, and indicated to counsel that it would be issuing this Opinion and Order, which sets forth the
legal authority for the Court’s ruling.
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Background

               The facts and history of this case have been set forth in previous Opinions

and Orders, familiarity with which is presumed. For purposes of framing the present in

limine motion, it is sufficient to state that the defendant is charged with violating 18

U.S.C. § 1001, by allegedly lying to an FBI agent during an investigatory interview.

               On February 17, 2011, the government submitted a letter to defense

counsel, pursuant to Fed. R. Crim. P. 16 and the Court’s February 14, 2011 Opinion and

Order, wherein it advised defense counsel of its intention to offer the testimony of its

expert, Lori Brown, on the subject of the Code of Judicial Conduct and the Ohio Rules of

Professional Conduct governing the conduct of Ohio’s judges and attorneys in effect in

2008. (Doc. No. 227-1.) The government indicated that it intended to offer Ms. Brown’s

testimony “for the purpose of proving the defendant’s motive for making the false

statements charged in the Supplemental Indictment.” (Id. at 1.)

               The defendant has filed a motion in limine to preclude the government

from offering this evidence at trial. In her motion, the defendant argues that evidence

relating to any breach of the judicial code would be too far removed from the question of

whether the defendant made false statements during the course of the FBI investigatory

interview. The defendant also complains that introduction of this evidence would require

a trial within a trial on the issue of whether the defendant violated the code, and would

have the effect of confusing the issues and misleading the jury.




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Legal Standards

Motion in Limine Standard

               Although not explicitly authorized by the Federal Rules of Evidence or the

Federal Rules of Civil Procedure, the practice of ruling on motions in limine “has

developed pursuant to the district court’s inherent authority to manage the course of

trials.” Luce v. United States, 469 U.S. 38, 41 n.4 (1984). Motions in limine allow the

court to rule on evidentiary issues prior to trial in order to avoid delay and focus pertinent

issues for the jury’s consideration. See United States v. Brawner, 173 F.3d 966, 970 (6th

Cir. 1999); Jonasson v. Lutheran Child & Family Servs., 115 F.3d 436, 440 (7th Cir.

1997).

               Courts should exclude evidence on a motion in limine only when it is

clearly inadmissible. Indiana Ins. Co. v. Gen. Elec. Co., 326 F. Supp. 2d 844, 846 (N.D.

Ohio 2004). If the court is unable to determine whether or not certain evidence is clearly

inadmissible, it should defer ruling until trial so that questions of foundation, relevancy,

and potential prejudice can be evaluated in proper context. Id. Ultimately, the

determination whether to grant or deny a motion in limine is within the sound discretion

of the trial court. Goldman v. Healthcare Mgmt. Sys., Inc., 559 F. Supp. 2d 853, 858

(W.D. Mich. 2008) (citing United States v. Certain Lands Situated in the City of Detroit,

547 F. Supp. 680, 681 (E.D. Mich. 1982)). In limine rulings are preliminary, and the

district court may change its ruling at trial for any reason it deems appropriate. United

States v. Yannott, 42 F.3d 999, 1007 (6th Cir. 1994).




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Federal Rules of Evidence

               All relevant evidence is admissible and evidence that is not relevant is not

admissible. Fed. R. Evid. 402. “Relevant evidence” is defined as “evidence having any

tendency to make the existence of any fact of consequence to the determination of the

action more probable or less probable than it would be without the evidence.” Fed. R.

Evid. 401. The relevancy standard is liberal. Daubert v. Merrell Dow Pharms., Inc., 509

U.S. 579, 587 (1993). However, relevant evidence may be excluded if its “probative

value is substantially outweighed by the danger of unfair prejudice, confusion of the

issues, or misleading the jury, or by considerations of undue delay, waste of time, or

needless presentation of the evidence.” Fed. R. Evid. 403.

Analysis

       Brown’s Testimony is Admissible to Show Motive

               The government contends that evidence regarding the judicial code is

admissible for the purpose of establishing that the defendant had a motive to lie to the

FBI. Specifically, the government plans to use this evidence to show that the defendant

was concerned that if she was truthful with the FBI investigating agent, she would have

exposed herself to possible disciplinary action under the judicial code.

               Rule 404(b) states:

       Evidence of other crimes, wrongs, or acts is not admissible to prove the
       character of a person in order to show conformity therewith. It may,
       however, be admissible for other purposes, such as proof of motive,
       opportunity, intent, preparation, plan, knowledge, identity, or absence of
       mistake or accident, provided that upon request by the accused, the
       prosecution in a criminal case shall provide reasonable notice in advance
       of trial, or during trial if the court excuses pretrial notice on good cause
       show, of the general nature of any such evidence it intends to introduce at
       trial.
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Fed. R. Crim. P. 404(b). The Court employs a three-part test to review the admissibility

of evidence under Rule 404(b):

       First, the district court must decide whether there is sufficient evidence
       that the other act in question actually occurred. Second, if so, the district
       court must decide whether the evidence of the other act is probative of a
       material issue other than character. Third, if the evidence is probative of a
       material issue other than character, the district court must decide whether
       the probative value of the evidence is substantially outweighed by its
       potential prejudicial effect.

United States v. Trujillo, 376 F.3d 593, 605 (6th Cir. 2004) (quoting United States v.

Jenkins, 345 F.3d 928, 937 (6th Cir. 2003) (emphasis in original)). See United States v.

Allen, 619 F.3d 518, 523 (6th Cir. 2010); United States v. Merriweather, 78 F.3d 1070,

1074 (6th Cir. 1996).

               At the outset, the Court notes that the government has indicated that its

expert will not testify that the defendant has violated any portion of the judicial code.

Rather, she is expected to testify to the standards contained within the code, that certain

conduct violates the code, and is further expected to testify as to the disciplinary

consequences of violating these code provisions.

               Specifically, the government identifies three types of conduct that violate

the code and are allegedly relevant to the present action: (1) a judge engaging in an ex

parte communication with a party’s representative about a case that was pending in the

judge’s court; (2) a judge favoring one party over another in the disposition or settlement

of a case; and (3) a judge “continu[ing] a criminal trial of an incarcerated defendant to

allow the defense attorney to assist someone for whom the judge received political

support or promised special consideration to one side in a pending lawsuit at the request

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of the person from whom the judge received political support.” (See Doc. No. 227-1 at 2.)

Ms. Brown is expected to testify regarding the relevant standards (Canons 1 through 4 of

the Code of Judicial Conduct) that may be implicated by such conversations and/or

conduct.

               With respect to the first factor, the government has identified evidence

which, if believed by the jury, would establish that the defendant engaged in an ex parte

conversation with a party’s representative when she contacted Steven Pumper to discuss

the settlement of a case to which Mr. Pumper’s company, DAS, was a party. (See Session

14940, May 2, 2008 phone conversation between Defendant McCafferty and Pumper.)

Additionally, the phone conversation between the defendant and Frank Russo, wherein

the defendant promised to give a case special consideration, could also be a conversation

implicating the standards set forth in the judicial code of conduct. (See Session 3720, July

15, 2008 Phone Conversation between Russo and Defendant McCafferty.) Finally, the

defendant’s alleged conduct in continuing a criminal trial involving an incarcerated

defendant in order to free up one of the attorneys on the case to assist Frank Russo in

addressing an impending Cleveland Plain Dealer article on the hiring practices of Russo’s

office may also fall within the prohibitions of the judicial code. (See Session 2078, May

21, 2008 call from McCafferty to Russo.) Based upon the government’s proffer and the

evidence received during the testimony to date, the Court finds that there is sufficient

evidence that these conversations took place.

               As for the second factor, the Court must determine whether the evidence is

offered for a legitimate purpose, and not “to prove the character of a person in order to

show action in conformity therewith.” Fed. R. Evid. 404(b).
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       Evidence of other acts is probative of a material issue other than character
       if (1) the evidence is offered for an admissible purpose, (2) the purpose for
       which the evidence is offered is material or ‘in issue,’ and (3) the evidence
       is probative with regard to the purpose for which it is offered.

Jenkins, 345 F.3d at 937 (quoting United States v. Haywood, 280 F.3d 715, 720 (6th Cir.

2002)). See United States v. Rayborn, 495 F.3d 328, 342 (6th Cir. 2007).

               The government represents that it intends to offer Ms. Brown’s testimony

to show that the defendant had a motive to lie to the investigating FBI agent. By

identifying certain conduct that violates the judicial code, and then offering evidence that

would tend to show that the defendant may have violated these code provisions, the

government will argue that the defendant had motive to lie about her conduct to protect

herself from possible disciplinary action. Motive is a legitimate purpose under Rule

404(b). And of course, the defendant’s motivation as to why she would lie to the FBI

agent is at issue in this trial. Further, this evidence is probative as to motive because it

would explain why the defendant may have felt that she could not be truthful during the

interview. The Court finds that the second factor is satisfied.

               The final prong in the three-part test requires an analysis under Rule 403,

which reads in pertinent part: “Although relevant, evidence may be excluded if its

probative value is substantially outweighed by the danger of unfair prejudice, confusion

of the issues, or misleading the jury […].” Fed. R. Evid. 403. “Situations in this area call

for balancing the probative value of and need for the evidence against the harm likely to

result from its admission.” Cooley v. Carmike Cinemas, 25 F.3d 1325, 1330 (6th Cir.

1994). A district court has broad discretion in determining whether the danger of undue

prejudice outweighs the probative value of evidence. United States v. Vance, 871 F.2d

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572, 576 (6th Cir. 1989).

               “An important indication of probative value of evidence is the

prosecution’s need for the evidence in proving its case.” Vance, 871 F.2d at 577 (citing

United States v. Benton, 637 F.2d 1052, 1057 (5th Cir. 1981)). In this case, the

government has a strong need for the evidence, as it would explain why an upstanding

citizen, who holds a prestigious and respected position, would have incentive to lie to a

federal agent. Moreover, without such expert testimony, it is unlikely that lay jurors

would appreciate or understand why certain conduct by a judicial officer, such as

engaging in ex parte conversations with parties, would be improper and unethical. Thus,

the Court finds that the evidence has significant probative value. See, e.g., United States

v. NHML, Inc., 2000 WL 420683, *8 (6th Cir. Apr. 12, 2000) (use of Medicare and

Medicade regulations properly admitted to demonstrate the defendants’ motive); United

States v. Harvard, 103 F.3d 412, 422-23 (5th Cir. 1977) (use of civil banking regulations

properly admitted to show that the defendant had a motive to make false entries to hide

the nature of a sham loan).

               As for unfair prejudice to the defendant, the Court notes that “[u]nfair

prejudice does not mean the damage to a defendant’s case that results from the legitimate

probative force of the evidence; rather, it refers to evidence which tends to suggest

decision on an improper basis.” United States v. Bonds, 12 F.3d 540, 567 (6th Cir. 1993).

Evidence is unfairly prejudicial if:

       the jury’s decision will be based upon improper factors, notably the
       character and past conduct of the accused, rather than upon the evidence
       presented on the crime charged. The prejudicial effect of the evidence may
       be reduced by the manner in which the evidence is introduced, e.g.,
       elimination of inflammatory or unnecessary details from the presentation,
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         and by cautionary instructions from the trial judge.

Benton, 637 F.2d at 1057.

                  Here there is some concern that the introduction of evidence regarding

judicial code violations may cause the jury to view the defendant as an unethical judge,

who might be more inclined than others to lie to the FBI. This risk will be minimized by

the fact that the government’s expert will not be testifying that the defendant actually

violated the judicial code. The risk can be further reduced by the limiting instruction

proposed by the government that would advise the jury that violations of the judicial code

do not constitute crimes, and that they may only consider the evidence of such violations

as it relates to the defendant’s motive. See United States v. Comer, 93 F.3d 1271, 1277

(6th Cir. 1996).

                  The Court finds that, on balance, the probative value of this evidence to

establish the defendant’s motive outweighs the possible prejudice to the defendant.

Therefore, its admission is permissible under Rule 403. The defendant’s concern

regarding the possibility of a distracting “mini-trial” on the issue of judicial code

violations that would distract from the central focus of the case is misplaced because the

government must prove that the defendant actually engaged in ex parte conversations,

and other potentially unethical conduct, related to the DAS case in order to prove its case-

in-chief.2 As such, the alleged underlying conduct already is a central part of this case.




2
  To establish a violation of 18 U.S.C. § 1001, the government must prove that: (1) the statement was
material; (2) the defendant acted knowingly and willfully; and (3) the statement pertained to a matter within
the jurisdiction of the executive branch of the United States government. Evidence that the defendant lied
to an FBI investigator to cover-up possible unethical conduct would tend to show that the defendant acted
knowingly and willfully.
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Conclusion

               For all of the foregoing reasons, the defendant’s motion to exclude the

testimony of the government’s expert, Lori Brown, on the subject of the Code of Judicial

Conduct and the Ohio Rules of Professional Conduct (Doc. No. 216) is DENIED in part

and GRANTED in part. For the reasons set forth above, the government will be permitted

to elicit testimony regarding the standards set forth in the Ohio Code of Judicial Conduct

and the Ohio Rules of Professional Conduct as they relate to the defendant’s actions and

conversations regarding cases that she presided over. The government will not be

permitted to elicit testimony regarding whether the defendant violated the standards.

               IT IS SO ORDERED.


Dated: March 22, 2011
                                                 HONORABLE SARA LIOI
                                                 UNITED STATES DISTRICT JUDGE




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